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                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

                          TRUSTEE’S SUPPLEMENTAL REPORT

                         FOLLOWING CONFIRMATION HEARING


 CASE NO.   R22-40479-BEM                      ELLIS-MONRO, JUDGE
 DEBTOR(S): VANCE FAMBER, JR.                  DATE: JULY 20, 2022

        SONYA BUCKLEY GORDON TO REPORT BACK IN 10 DAYS

        WHETHER DEBTOR’S PLAN PAYMENTS CURRENT



        THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

        RECOMMENDS AGAINST CONFIRMATION OF THE PLAN BECAUSE:
        DEBTOR’S PLAN PAYMENTS REMAIN DELINQUENT
        PLEASE ENTER AN ORDER OF DISMISSAL.


        August 9, 2022



                                                   /s
                                        Sonya Buckley Gordon, Esq.
                                        for Chapter 13 Trustee
                                        GA. Bar No. 140987




 K. Edward Safir, Chapter 13 Trustee
 285 Peachtree Center Ave, Suite 1600
 Atlanta, Georgia 30303
 404-525-1110
Case 22-40479-bem        Doc 19    Filed 08/10/22 Entered 08/10/22 07:43:01   Desc
                                       Page 2 of 2




 R22-40479-BEM
                              CERTIFICATE OF SERVICE

      This is to certify that on this day I caused a copy of the
 foregoing pleading to be served via United States First Class
 Mail, with adequate postage thereon, on the following parties at
 the address shown for each:

 DEBTOR(S):

 VANCE FAMBER, JR.
 P.O. BOX 6762
 DALTON, GA 30722

 I further certify that I have on this day electronically filed
 the pleading using the Bankruptcy Court's Electronic Filing
 program, which sends a notice of this document and an
 accompanying link to this document to the following parties who
 have appeared in this case under the Bankruptcy Court's
 Electronic Case Filing program:

 SAEGER & ASSOCIATES



 This 10TH day of August, 2022



        /s/
 Sonya Buckley Gordon, Esq.
 for Chapter 13 Trustee
 GA Bar No. 140987




 K. Edward Safir, Chapter 13 Trustee
 285 Peachtree Center Ave, Suite 1600
 Atlanta, Georgia 30303
 404-525-1110
